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 9   *Pro Hac Vice
10   Attorneys for Plaintiff Bryce Abbink
     and the Classes
11
12                         UNITED STATES DISTRICT COURT

13         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

14
15   Bryce Abbink, individually and on             Case No. 8:19-cv-01257-JFW-PJW
16   behalf of all others similarly situated,
                                                   NOTICE OF LODGING [PROPOSED]
17                                                 STATEMENT OF DECISION
                                Plaintiff,
                                                   DENYING DEFENDANT EXPERIAN
18                                                 INFORMATION SOLUTIONS, INC.’S
     v.
19                                                 MOTION TO DISMISS
20   Experian Information Solutions, Inc.,
                                                   Hon. John F. Walter
     an Ohio corporation, Lend Tech
21
     Loans, Inc., a California corporation,
                                                   Date: September 16, 2019
22   and Unified Document Services, LLC,
                                                   Time: 1:30 p.m.
     a California Limited Liability
23                                                 Judge: Hon. John F. Walter
     Company,
                                                   Courtroom: 7A
24
                                                   Complaint filed: June 21, 2019
                                Defendants.
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28   NOTICE OF LODGING PROPOSED              -1-
     STATEMENT OF DECISION RE: MOTION
     TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39 Filed 09/04/19 Page 2 of 3 Page ID #:284




 1   TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2         PLEASE TAKE NOTICE that in accordance with Section 5(f) of the Court’s
 3   Standing Order in this action (dkt. 16), Plaintiff Bryce Abbink hereby lodges his
 4   [Proposed] Statement of Decision Denying Defendant Experian Information
 5   Solutions, Inc.’s Motion to Dismiss. (Dkt. 25.)
 6         The [Proposed] Statement of Decision is attached hereto as Exhibit A.
 7
 8                                          Respectfully submitted,
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                                            Bryce Abbink, individually and on behalf of
10                                          all others similarly situated,
11
     Dated: September 4, 2019        By:     /s/ Taylor T. Smith
12
13                                          Aaron D. Aftergood (239853)
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21                                          *Pro Hac Vice
22                                          Attorney for Plaintiff Bryce Abbink
                                            and the Classes
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28   NOTICE OF LODGING PROPOSED            -2-
     STATEMENT OF DECISION RE: MOTION
     TO DISMISS
Case 8:19-cv-01257-JFW-PJW Document 39 Filed 09/04/19 Page 3 of 3 Page ID #:285




 1                            CERTIFICATE OF SERVICE
 2         The undersigned hereby certifies that a true and correct copy of the above
 3   titled document was served upon counsel of record by filing such papers via the
 4   Court’s ECF system on September 4, 2019.
 5                                         /s/ Taylor T. Smith
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28   NOTICE OF LODGING PROPOSED          -3-
     STATEMENT OF DECISION RE: MOTION
     TO DISMISS
